  Case 3:05-cr-00383-CCC           Document 253         Filed 08/14/06      Page 1 of 4




                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                      CRIMINAL 05-0383CCC
 1) JOEL MORENO-ESPADA
 a/k/a JOEL, (Counts One and Two)
 2) JOSE RAFAEL VELAZQUEZ-LOPEZ, a/k/a Bebe
 (Counts One and Two)
 3) ITHIER RIVERA-SANTIAGO,
 a/k/a Ithier (Counts One, Two and Three)
 4) JOSE RAFAEL ORTIZ-MELENDEZ
 a/k/a Rafa, a/k/a Bombero (Counts One and Two)
 5) JOSE A. RIVERA-SANTIAGO
 a/k/a Pelón (Counts One and Two)
 6) HECTOR LOPEZ-FLORES, a/k/a Kiko
 (Counts One and Two)
 7) LUIS DANIEL MELENDEZ-SANCHEZ
 a/k/a Corito (Counts One, Two and Three)
 8) MIGUEL A. LOPEZ-PAGAN, a/k/a Macho
 (Counts One and Two)
 9) OMAR MORENO-ESPADA
 a/k/a Omar (Counts One and Two)
 10) RAMON L. MARTINEZ-RODRIGUEZ
 a/k/a Negro, a/k/a Spiderman
 (Counts One and Two)
 11) JOSE RIVERA-GONZALEZ
 a/k/a Gil (Count One)
 12) JOSE E. RIVERA-GONZALEZ
 a/k/a Geño (Count One)
 13) CARLOS JOSE CRUZ-FRANCO
 14) SONIA ESPADA-MALAVEZ
 a/k/a Coja (Count One)
 15) LIZETTE RIVERA-ESPADA
 a/k/a Pelota (Count One)
 16) YARITZA I. FRANCESCHI-MALAVE
 (Count One)
 Defendants

                                            ORDER
         Before the Court is the “Moción en Solicitud de que Nos Sea Anulado el Plea
Agreement en el Caso de Epígrafe” filed by defendant José E. Rivera-González pro se on July
28, 2006 (docket entry 243). Defendant seeks through this motion to withdraw his plea
of guilty entered on April 3, 2006, and in support of this request avers that when he signed
the plea agreement on March 31, 20061 he was under the influence of strong sedatives, that



         1
         The Plea Agreement reflects that it was signed by defendant on April 3, 2006. See docket entry
165, p. 9.
  Case 3:05-cr-00383-CCC            Document 253         Filed 08/14/06       Page 2 of 4

CRIMINAL 05-0383CCC                                 2

his attorney took advantage of this condition to convince him to sign the agreement, that the
attorney also told him not to tell the Judge that he was under the influence of sedatives, that
he does not know the charges to which he pled guilty nor the evidence which supports them,
and that his attorney never read him the plea agreement. Defendant further claims that it was
only after he pled guilty that he was advised by another person that there is no evidence against
him, that he was not lucid at the time he signed the plea agreement, and that he pled guilty for
crimes he never committed.2 As an attachment to the motion, defendant has submitted a list
of the medications he takes every day, and which he presumably had taken before the change
of plea proceedings, which he claims are “very strong sedatives.”                 Motion, at ¶4 (our
translation).
        A defendant who pleads guilty to an offense "possesses no absolute right to retract his
plea." United States v. Pellerito, 878 F.2d 1535, 1537 (1st Cir.1989). Rule 11 provides
that "[a] defendant may withdraw a plea of guilty . . . after the court accepts the plea, but
before it imposes sentence if . . . the defendant can show a fair and just reason for requesting
the withdrawal." Fed.R.Crim.P. 11(d)(2)(B). Among the relevant factors a court should
consider are whether a plea was voluntary, intelligent, knowing and complied with Rule 11; the
force of the reasons offered by the defendant; whether there is a serious claim of actual
innocence; the timing of the motion; and any countervailing prejudice to the government if the
defendant is allowed to withdraw his plea. United States v. Pizarro-Berríos, 448 F.3d 1, 4-5
(1st Cir 2006).
        Defendant’s challenge to the validity of his guilty plea essentially rests on the medications
he had taken before the proceedings, which he claims were strong sedatives. “When, as now,
a defendant wishes to have his plea declared invalid due to his use of prescription medication
or illicit drugs, ‘[t]he mere fact that [he] took potentially mood-altering medication is not
sufficient to vitiate his plea.’     Rather, he must show ‘that the medication affected his
rationality.’” Miranda-González v. U.S., 181 F.3d 164, 165 (1st Cir. 1999) (quoting United
States v. Pellerito, 878 F2d 1535, 1542 (1st Cir. 1989).
        The Court has reviewed the transcript of defendant’s change of plea hearing, held before
U.S. Magistrate-Judge Camille L. Vélez-Rivé on April 3, 2006 (docket entry 231), and is
convinced that defendant has failed to demonstrate now that the medications he allegedly took
then “affected his rationality.” The transcript (TR.) reflects that following the duty imposed



        2
         Defendant also complains in his motion about some information included in his Pre-Sentence Report
(PSR) which he claims is false. See Motion, at ¶¶ 10-16. As the inclusion of said information in the PSR
would not serve to support his request for withdrawal of the guilty plea, we do not consider it here.
  Case 3:05-cr-00383-CCC              Document 253         Filed 08/14/06        Page 3 of 4

CRIMINAL 05-0383CCC                                   3

by the Court of Appeals in United States v. Parra-Ibañez, 936 F.2d 588 (1st Cir. 1991), once
the Magistrate-Judge confirmed during the Rule 11 hearing that defendant was on medication
she inquired into the defendant’s capacity to enter a plea. The following colloquy ensued:
        “THE MAGISTRATE: Have you taken any drug, medicine, or alcoholic beverage in the
last twenty-four hours?
        MR. RIVERA: No, just my pills for my blood pressure.
        THE MAGISTRATE: Okay, does the intake of those medications affect you in any way
for understanding these proceedings?
        MR. RIVERA: No, at no time, in no way.
        THE MAGISTRATE: Do you feel well today physically and mentally?
        MR. RIVERA: Yes.
        THE MAGISTRATE: Do you believe that you understand these proceedings?
        MR. RIVERA: Yes.”
TR., at pp-5-6.
        While the Court of Appeals has stated that “[t]he ‘better practice’ is to identify the drug
in question, how recently it has been taken and in what quantity, and the drug’s purpose and
effects,” Cody v. United States, 249 F.3d 47, 52 (1st Cir. 2001), here the Magistrate-Judge
conducted the minimum inquiry required to satisfy herself that defendant’s medications did not
affect his competence to plead. Although defendant claims now that he was under the influence
of strong sedatives when he signed the plea agreement before his change of plea hearing, his
own evidence belies that assertion. Indeed, the list of prescribed medications that he has
submitted attached to the motion, and which he had allegedly taken before signing the plea
agreement on April 3, 2006, confirms what he affirmed to the Magistrate-Judge during the
change of plea hearing held on that same date: that on that date he had only taken “pills for
. . . blood pressure.”3
        Further review of the transcript confirms that defendant’s plea of guilty was voluntary,
knowing and intelligent. Defendant admitted that he had received a copy of the indictment filed
against him, and that he had been able to fully consult with his counsel about the charges it
contained. TR., pp. 7-8. He represented to the Magistrate-Judge that he understood the
charges against him under Count One of the indictment. TR., p. 34. When asked whether he



         3
             Defendant’s list contains five different medications.        Aside from aspirin, it includes
Hydrochlorothiazide (a diuretic), Lisinopril (an angiotensin-converting-enzyme (ACE) inhibitor), Metoprolol
(a beta blocker) and Nisoldipine (a calcium channel blocker), all antihypertensives- medications used to treat
hypertension or high blood pressure. None are considered sedatives. See www.drugs.com.
  Case 3:05-cr-00383-CCC          Document 253        Filed 08/14/06     Page 4 of 4

CRIMINAL 05-0383CCC                             4

was satisfied with the advice given to him by his counsel, he replied: “Excellent.” TR., p. 8, line
16. He expressed his desire to plead guilty to Count One of the indictment, and affirmed that
he had enough time to consult with his attorney about the change of plea proceedings. TR.,
p. 9. The Magistrate-Judge explained to defendant all the constitutional rights that he would
be waiving by pleading guilty, and he acknowledged that he understood them. TR., pp. 11-14.
Defendant also admitted that the plea agreement represented in its entirety the understandings
that he had with the government, and that he was able to consult about the full content of the
plea agreement with his attorney before signing it. TR., p. 18. Defendant recognized that no
one had forced him to plead guilty, TR., p. 20, or had threatened him in any way to do so.
TR., p. 21.     He accepted that he was pleading guilty without coercion or any mental
reservation. TR., p. 21. He also acknowledged that the representation of the facts made by
the government--that he had participated in the distribution of narcotic controlled substances
at Las Palmas public housing project in Coamo, Puerto Rico, and also possessed firearms in
furtherance of the conspiracy--was accurate. TR. P. 31.
       The thoroughness of the Rule 11 colloquy also serves to discredit defendant’s other
allegations in support of the plea withdrawal, namely that he did not know the charges to which
he pled guilty nor the evidence which supported them, that his attorney never read him the plea
agreement, and that the attorney pushed him into pleading guilty. Given that the transcript
shows that defendant’s plea was voluntary, intelligent, knowing and fully complied with Rule 11;
that the reasons offered by him in support of the withdrawal are not supported by the record;
that defendant has failed to make a serious claim of actual innocence; and that his motion was
filed almost four (4) months after he entered the guilty plea, we must conclude that he has
failed to provide a fair and just reason for withdrawing his guilty plea.
       Accordingly, and for the reasons stated, the motion requesting withdrawal of guilty plea
filed by defendant José E. Rivera-González pro se (docket entry 243) is DENIED.
       SO ORDERED.
       At San Juan, Puerto Rico, on August 11, 2006.



                                                    S/CARMEN CONSUELO CEREZO
                                                    United States District Judge
